






In The



Court of Appeals



Ninth District of Texas at Beaumont



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NO. 09-06-042 CR


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EX PARTE RONNIE THOMAS






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 2090 (94446)






     MEMORANDUM OPINION 


	On December 14, 2005, the trial court denied Ronnie Thomas's application for writ
of habeas corpus without conducting an evidentiary hearing or issuing the writ of habeas
corpus.  We questioned our jurisdiction over the appeal.  Thomas filed a response in which
he argues the merits of his application for writ of habeas corpus without first establishing
that the order is appealable.

	No appeal lies from the refusal to issue writ of habeas corpus unless the trial court
conducts an evidentiary hearing on the merits of the application.  Ex parte Hargett, 819
S.W.2d 866 (Tex. Crim. App. 1991); Noe v. State, 646 S.W.2d 230 (Tex. Crim. App.
1983).  In this case, the trial court did not address the merits of the appellant's petition. 
The trial court did not issue a writ of habeas corpus, nor did the court conduct an
evidentiary hearing on the application for the writ.  Compare Ex parte Silva, 968 S.W.2d
367 (Tex. Crim. App. 1998); Ex parte McCullough, 966 S.W.2d 529 (Tex. Crim. App.
1998).  We hold we have no jurisdiction over this appeal.  Accordingly, it is ordered that
the appeal be dismissed for want of jurisdiction.

	APPEAL DISMISSED.


								___________________________

								       STEVE McKEITHEN

									     Chief Justice  


Opinion Delivered March 8, 2006 

Do Not Publish

Before McKeithen, C.J., Gaultney, and Kreger, JJ.


